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     Board of Trustees of the Town of Del Norte and Town of Del Norte, Petitioners  v.  Laura Anzalone, former Trustee of the Town of Del Norte. Respondent No. 24SC215Supreme Court of Colorado, En BancJuly 22, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA2181
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    